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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                               Chapter 11

 Lordstown Motors Corp., et al.,                      Case No. 23-10831 (MFW)

                        Debtors.                      (Jointly Administered)


                 MOTION AND ORDER FOR ADMISSION PRO HAC VICE
        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission
pro hac vice of Jake Bissell-Linsk of Labaton Keller Sucharow LLP to represent George Troicky
in the above-captioned cases and any related adversary proceedings.

Dated: February 29, 2024                      CROSS & SIMON, LLC

                                              /s/ Christopher P. Simon
                                              Christopher P. Simon (No. 3697)
                                              1105 North Market Street, Suite 901
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 777-4200
                                              csimon@crosslaw.com

            CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing, and in good standing as a member of the Bar of the State of New York and
submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of this action. I also certify that I am generally familiar with this Court’s
Local Rules and with the Standing Order for District Court Fund revised 12/21/23. I further certify
that the annual fee of $50.00 has been paid to the Clerk of Court for District Court.

Dated: February 29, 2024                      /s/ Jake Bissell-Linsk
                                              Jake Bissell-Linsk, Esq.
                                              LABATON KELLER SUCHAROW LLP
                                              140 Broadway
                                              New York, NY 10005
                                              Telephone: 212-907-0731
                                              jbissell-linsk@labaton.com


                                ORDER GRANTING MOTION

          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.
